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 5                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,                    No.   CR-13-6016-EFS-01
                                                        CR-13-6016-EFS-02
 8                                Plaintiff,            CR-13-6016-EFS-03
                                                        CR-13-6016-EFS-04
 9                 v.                                   CR-13-6016-EFS-05
                                                        CR-13-6016-EFS-06
10   RYAN ALBERT DODD (1),                              CR-13-6016-EFS-07
     TERRENCE LEROY HISSONG (2),                        CR-13-6016-EFS-08
11   PATRICK BRADLEY BRANNAN (3),                       CR-13-6016-EFS-09
     STEPHANIE HILTON LIVESEY (4),                      CR-13-6016-EFS-10
12   GLENDA MICHELLE DAVIS (5),
     KENNETH ALAN BAIRD (6),
13   JAMES MICHAEL HAY (7),                       ORDER ENTERING RULINGS FROM
     PERRY MARK HOWARD (8),                       SEPTEMBER 4, 2013 MOTION HEARING
14   MARK NORRIS JOHNSON (9), and
     DANIEL PAUL NIEBUHR (10),
15
                                  Defendants.
16

17           A   motion   hearing    occurred    in   the   above-captioned   matter   on

18   September 4, 2013.       Assistant U.S. Attorney Sean McLaughlin and Tyler

19   Tornabene appeared on behalf of the U.S. Attorney’s Office (USAO).

20   All above-listed Defendants were present, represented by counsel.1

21   Before the Court were a number of pretrial motions.                After reviewing

22   the pleadings and hearing argument, the Court ruled, or took under

23

24

25   1
       Mr. Vovos advised the Court his client, Defendant Hissong, had a family
     emergency and Defendant Hissong orally waived his presence for the hearing.
26   Accordingly, Defendant Hissong was excused from open court.


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 1   advisement, all of the outstanding motions.                             This Order memorializes

 2   and supplements the Court’s oral rulings.

 3                       I.     MOTION TO SEVER DEFENDANTS FOR TRIAL

 4          The United States moves to sever the Defendants for trial.                                        The

 5   United States is joined in its motion to sever by Defendants Niebuhr

 6   and Baird.        The United States seeks to sever the Defendants for trial

 7   into   three,      allegedly         factually     distinct,        groupings,             in    order    to

 8   better serve judicial economy, allow time for plea negotiations, and

 9   focus on separate aspects of the Indictment.                          Specifically, the United

10   States     proposes      the        following     division:        Group         1    -     The       Direct

11   Supervisors for CH2M Hill, Defendants Davis and Livesey; Group 2 - The

12   Persons      in   Charge       at    CH2M      Hill,     Defendants       Baird,          Hay,       Howard,

13   Johnson, and Niebuhr; and Group 3 - The Upper Managers for CH2M Hill,

14   Defendants Dodd, Hissong, and Brannan.                      Defendants, other than Niebuhr

15   and Baird, oppose severance arguing that the United States has not

16   demonstrated       prejudice         in   proceeding        with   a     joint       trial       and    that

17   judicial economy would not be achieved by severance.

18          Here, the United States properly joined all the Defendants in a

19   single indictment under Federal Rule of Criminal Procedure 8(b), as

20   the acts charged against each Defendant have a logical relationship

21   with   the    series     of     acts      or    transactions       constituting             an       offense

22   charged      against     the    co-defendants.              See    United    States             v.   Felix-

23   Gutierrez, 940 F.2d 1200, 1208-09 (9th Cir. 1991).                               The United States

24   now seeks to sever the ten defendants pursuant to Federal Rule of

25   Criminal      Procedure        14,    which     provides       that      “[i]f       the    joinder       of

26   offenses or defendants in an indictment . . . appears to prejudice a


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 1   defendant or the government, the court may order separate trials of

 2   counts, sever the defendants’ trials, or provide any other relief that

 3   justice requires.”   Under Rule 14, the moving party bears the heavy

 4   burden of demonstrating the necessity for severance.          United States v.

 5   Arbelaez, 719 F.2d 1453, 1460 (9th Cir. 1982).          There is a preference

 6   in the federal system for joint trials of defendants who are indicted

 7   together.    See e.g., United States v. Zafiro, 506 U.S. 534, 536

 8   (1993); United States v. Stinson, 647 F.3d 1196, 1205 (9th Cir. 2011).

 9   Ultimately, the issue of whether to sever under Rule 14 is up to the

10   discretion of the court, unless joinder is “so manifestly prejudicial

11   that it outweighs the dominant concern of judicial economy and compels

12   the exercise of the court’s discretion to sever.”            United States v.

13   Brashier, 548 F.2d 1315, 1323 (9th Cir. 1976).             In determining the

14   prejudicial effect of joint trials the Court is guided by several

15   factors including:

16        (1) whether the jury may reasonably be expected to collate
          and   appraise  the   individual   evidence  against   each
17        defendant; (2) the judge's diligence in instructing the
          jury on the limited purposes for which certain evidence may
18        be used; (3) whether the nature of the evidence and the
          legal concepts involved are within the competence of the
19        ordinary juror; and (4) whether [Defendants] could show,
          with some particularity, a risk that the joint trial would
20        compromise a specific trial right of one of the defendants,
          or prevent the jury from making a reliable judgment about
21        guilt or innocence.

22   United States v. Fernandez, 388 F.3d 1199, 1241 (9th Cir. 2004).

23        Here, these four factors do not weigh in favor of a finding of

24   prejudice.   To the first and second factors, as this is a conspiracy

25   case in which each Defendant is charged in 32 of the 34 counts, much

26   of the same evidence would be admissible against each Defendant, even


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 1   in separate trials.          In a joint trial, the jury, far from being unable

 2   to evaluate the evidence against each Defendant, will be able to

 3   evaluate and assess each Defendant’s role in the conspiracy, and their

 4   relative level of culpability, if any.                 As to the third factor, this

 5   case is well within the competence of an ordinary juror.                           In Baker,

 6   the   court   noted    a     distinction     between    the    ability   of    a    jury   to

 7   understand the conceptually simple matter of narcotics trafficking, as

 8   contrasted with a more complex anti-trust case.                     United States v.

 9   Baker, 10 F.3d 1374, 1388 (9th Cir. 1993)(citing United States v.

10   Casamento,    887     F.2d    1141,   1150    (2nd     Cir.    1989)).        Here,    while

11   Defendants are charged with numerous counts, each count arises out of

12   the same general conspiracy.           The nature of the conspiracy, that the

13   Defendants conspired to bill for more hours than were worked, is

14   certainly within the ability for a jury to comprehend.                              Finally,

15   having reviewed the parties’ briefs and arguments, the United States,

16   and Defendants Niebuhr and Baird, have not demonstrated that specific

17   trial rights would be compromised by a joint trial.                      Therefore, they

18   have not met their burden of demonstrating that prejudice compels

19   severance.

20         Ultimately, based upon the facts of this case and the arguments

21   presented, the Court finds that judicial economy and the interest of

22   justice would best be served by a joint trial.                       Accordingly, the

23   United States’ motion is denied.

24                       II.      MOTION TO MODIFY PROTECTIVE ORDER

25         Defendant Hissong moves to modify the previous protection order,

26   ECF No. 106.    Defendant Hissong is joined by Defendants Dodd, Brannan,


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 1   and Niebuhr.         While all four Defendants reside in the Tri-Cities,

 2   Defendant       Hissong’s     counsel,         Mr     Vovos,      is   located     in     Spokane,

 3   Defendant Dodd’s counsel, Mr. Curtis, is located in Spokane, Defendant

 4   Brannan’s counsel, Mr. Therrien, is located in Yakima, and Defendant

 5   Niebuhr’s counsel, Mr. Hershman, is located in Tacoma.                                 These four

 6   Defendants seek to modify the previous protection order which required

 7   that the Investigative Reports disclosed by the United States could

 8   not be shared by defense counsel with the Defendants, except by oral

 9   disclosure or by a copy in counsel’s presence.                           Defendants’ counsel

10   now    seek    permission     to     allow      Defendants        to   have      copies    of    the

11   Investigative        Reports,      so    that       they   may    review    them       outside    of

12   counsels’ presence.          These Defendants assert the protection order is

13   burdensome given the travel distance required to review the reports

14   with counsel and the time necessary to redact Investigation Report

15   material.

16          The United States objected to the modification, asserting that

17   the public interest outweighs the burden of maintaining the protection

18   order.    After holding an in camera review, the Court is persuaded that

19   the    public    interest       is      best    served      by    maintaining      the    current

20   protection order.          The Court also notes that the issue is mitigated by

21   the    offer    of   Mr.    Egan,       counsel      for   Glenda      Davis,     to    allow    all

22   Defendants to review the materials at his local office.

23          Accordingly, the Court denies Defendant’s motion.                                The Court

24   also     cautions     all    Defendants         that       they    may     not    take    copies,

25   photocopies, or pictures of the Investigative Reports.

26   //


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 1                              III. MOTION FOR DISCLOSURE

 2         Defendant Hay moves for pretrial disclosure of all alleged co-

 3   conspirator statements the United States intends to use at trial.

 4   Defendant Hay is joined by Defendants Hissong, Howard, Dodd, Johnson,

 5   and   Brannan.      The    United      States    argues   that       any     coconspirator

 6   statements are already provided in discovery and that no legal duty

 7   exists to compel them to provide a pretrial list of every potential

 8   statement that may be offered as a coconspirator statement.

 9         While the Fifth Circuit, in United States v. James, 590 F.2d 575

10   (5th Cir. 1979), has established a practice of holding a hearing

11   before the admission of coconspirator statements the Ninth Circuit has

12   clearly declined to follow the Fifth Circuit’s holding.                          See e.g.

13   United States v. Zemek, 634 F.2d 1159, 1169 n.13 (9th Cir. 1980) (In

14   discussing James the Court noted that, “[i]n light of consistent Ninth

15   Circuit    precedent   allowing       conditional     admission,       we    reject   [the]

16   argument for a mandatory pretrial determination”); United States v.

17   Perez, 658 F.2d 654, 658 n.2 (9th Cir. 1981) (“Unlike the Fifth

18   Circuit,    this   court   has     declined      to   express    a     ‘preference’     for

19   pretrial     determination       of    admissibility      of     the       coconspirator's

20   statements.”).     It is still the clear law of the Ninth Circuit that

21   “[t]he     trial   judge     may      make   a    preliminary        determination       of

22   admissibility or may admit the testimony conditionally, subject to

23   ‘connecting up’ with the foundation to be eventually laid by the

24   prosecution.”      United States v. Gere, 662 F.2d 1291, 1294 (9th Cir.

25   1981).     If the prosecution fails to establish the required foundation

26   for the conditionally accepted statements, the statements are subject


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 1   to a later motion to strike.          See, e.g., United States v. Watkins, 600

 2   F.2d 201, 204 (9th Cir. 1979); United States v. Eubanks, 591 F.2d 513,

 3   519 n.6 (9th Cir. 1979); United States v. Weiner, 578 F.2d 757, 768

 4   (9th Cir. 1978).

 5        Additionally, the Court finds no precedent under Federal Rule of

 6   Evidence 104 or 801 that require the prosecution to provide pretrial

 7   disclosure     of    statements     that     may   be      offered    as    coconspirator

 8   statements at trial.        Given the lack of legal authority and the fact

 9   that any such statements have been provided in discovery, the Court

10   denies Defendant’s motion.           However, Defendants may renew challenges

11   to specific coconspirator statements in later motion practice.

12                               IV.     MOTION FOR DISCOVERY

13        Defendant Hay moves for disclosure of all evidence for which

14   disclosure is required under the Federal Rules of Criminal Procedure,

15   Local Rules, the U.S. Constitution, and relevant case law, including

16   Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405

17   U.S. 150 (1972), United States v. Henthorn, 931 F.2d 29 (9th Cir.

18   1991), and their progeny.             Defendant Hay is joined by Defendants

19   Hissong, Howard, Dodd, Johnson, and Brannan.                   Defendants also seek a

20   list of percipient witnesses the United States does not intend to call

21   at trial.

22        The United States noted that they have already provided five

23   separate     disclosures,        including    twelve       discs     with   hundreds   of

24   thousands     of    pages   of    documents    and      reports,     each   specifically

25   identifying    the    information      provided      and    the    corresponding   Bates

26   range.


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 1          Accordingly, the Court denies Defendant’s motion as moot to the

 2   extent Defendant’s request is already required by the current Case

 3   Management Order.              To the extent Defendant seeks discovery consistent

 4   with     Federal        Rules     of    Evidence    404(b)    and     609,    Brady,   Giglio,

 5   Henthorn, the Court grants the motion.                   To the extent Defendant seek a

 6   list of percipient witnesses the United States does not intend to call

 7   at trial, the Court denies the motion, but grants leave to renew

 8   provided a more specific discrete request is made.                         Disclosure will be

 9   subject to the deadlines set forth in the Court’s forthcoming amended

10   case management order.

11          Parties also raised concerns regarding the timing, and ongoing

12   nature    of    certain         disclosure.        Accordingly,      the   Court   orders   the

13   United States to file, no later than October 18, 2013, a discovery

14   status report providing a realistic assessment of when discovery and

15   document production will be full and complete.                         Any remaining issue

16   with discovery will be taken up at the First Pretrial Conference.

17                             V.      MOTION TO DECLARE CASE COMPLEX

18          Defendant Davis moves for an order declaring the case complex as

19   defined in 18 U.S.C. § 3161(h)(7)(B)(ii).                       The United States had no

20   objection and no party offered an objection at the September 4, 2013

21   hearing.       Accordingly, the motion is granted.

22     VI.      MOTION FOR EXTENSION TO FILE DISCLOSURE OF EXPERT WITNESSES

23          Defendant Dodd moves for an extension of the deadline to file

24   disclosures        of     expert       witnesses.       Defendant      Dodd   is   joined    by

25   Defendants      Brannan,         Howard,    Livesey,     Niebuhr,     Johnson,     Baird,   and

26   Howard.     The United States has no objection to the extension or the


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 1   proposed   dates.     Accordingly,      the      motion   is      granted    as    to     all

 2   Defendants.   Disclosure is subject to the deadlines set forth in the

 3   Court’s forthcoming amended case management order.

 4        Accordingly, IT IS HEREBY ORDERED:

 5        1.    Defendants’ motions for joinder, ECF Nos. 136, 137, 140,

 6              141, 142, 146, 159, 160, 161, 162, 163, 164, and 165, are

 7              GRANTED.

 8        2.    United States’ Motion to Sever Defendants for Trial, ECF

 9              No. 122, is DENIED.

10        3.    Defendant Hissong’s Motion to Modify Protective Order, ECF

11              No 126, is DENIED.

12        4.    Defendant     Hay’s    Motion    for     Disclosure,     ECF     No.    132,    is

13              DENIED.

14        5.    Defendant     Hay’s    Motion    for     Discovery,      ECF     No.    133,    is

15              DENIED AS MOOT IN PART (production already required under

16              the case management order), GRANTED IN PART (request for

17              discovery consistent with 404(b), 609, Brady, Giglio, and

18              Henthorn),     AND    DENIED,    with     leave   to    renew,     as    to    the

19              remainder.      Disclosure       is    subject    to    the    deadlines       set

20              forth in the Court’s forthcoming amended case management

21              order.

22        6.    Defendant Davis’ Motion to Declare Case Complex, ECF No.

23              134, is GRANTED.

24        7.    Defendant     Dodd’s    Motion     for    Extension      of    Time     to    File

25              Disclosure of Expert Witnesses, ECF No. 150, is GRANTED.

26


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 1              Disclosure is subject to the deadlines set forth in the

 2              Court’s forthcoming amended case management order.

 3        8.    Defense counsel James Egan will serve as lead counsel with

 4              respect    to    all   Criminal    Justice      Act   (CJA)     budgetary

 5              matters, as well as, lead counsel on expert testimony and

 6              experts used for discovery data management, that is done at

 7              CJA expense.

 8        9.    Defense counsel James Egan is direct to file a proposed CJA

 9              budget by not later than three weeks from the date of this

10              order.

11        10.   USAO shall file, by no later than October 18, 2013, a

12              discovery status report, providing a realistic assessment

13              of when discovery and document production will be complete.

14        11.   Counsel shall meet and confer, and file, by no later than

15              October 18, 2013, a joint status report to include 1) a

16              proposed      draft    pretrial     jury       questionnaire,      2)   a

17              recommendation for the number of preemptory challenges, 3)

18              the proposed length for voir dire and opening statements,

19              and 4) whether a new trial date of March 3, 2013, (starting

20              the trial a week earlier) would be acceptable.                Parties are

21              directed, as discussed in the hearing, to use United States

22              v. Olsen, CR-11-6001-EFS, as a guiding example.

23   //

24   //

25   //

26   //


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 1           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 2   Order and provide copies to all counsel.

 3           DATED this         19th      day of September 2013.

 4
                                       s/ Edward F. Shea
 5                                         EDWARD F. SHEA
                                Senior United States District Judge
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